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February 27, 2018

Hon. Susan D. Wigenton
United States District Judge
United States Courthouse
50 Walnut Street

Newark, New Jersey 07101

Re: United States vs. Hull, etal No. 09-1303 (SDW) (LDW)
Dear Judge Wigenton:

I understand there is a motion to hold the Hull’s in contempt for not signing certain papers and
agreeing to a survey prepared by the Government. I would like to advise the Court that the Hull’s
are not being contemptuous or frankly even difficult. This case has been difficult for them to
understand from the beginning. There understanding has become even more difficult since they
hired a title expert who wrote the report that was submitted on the case. After your Honor’s
ruling that did not allow our motion to be considered and the expert report to be considered, they
were advised that there will now always be a title problem on the property in the event they sell the

property.

I will further advise that they have also have an issue that their property is being taken from them
and they have not been compensated for it.

Thirdly, the survey that was provided has numerous issues which will also cloud the title on the
property. For example, the surveyor for the US Attorney, did not perform the instrumentation on
the survey. Worley has certified someone else’s work to the Court.

Worley’s survey was sent unsigned and without a raised seal to Hull, which my clients insisted on.
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A report by Hansen for the Hull’s critiqued the unsigned Worley survey which was forwarded to
the US Attorney’s office.

Further, there is no stated lot or block number. There appears to have to be a subdivision. There
is a septic tank covering the entire width of the road which is not dealt with. Eggress and ingress
issues exist.

We have requested from our title expert how to deal with the issues to make sense of what should
happen and whether we need to hire a surveyor to correctly state issues, because frankly, we are not
sure how to handle this matter.

This matter has dragged out a little due to my being out ill and then being out and then in trial for
the lastymonth.

    
  

Respéc itted,

cc. Michae¥E. Campion, Esq.
